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Jacqueline B. Wilson (La #31055)
Assistant Attorney General
Louisiana Department of Justice
1885 North Third Street, Baton Rouge, LA 70802
Phone: (225) 326-6300
Counsel for Judge Steven Tureau

                           UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON

 LYDIA MCCOY,                          *             CASE No. 6:22-cv-00157-SB
                                       *
                                       *             MOTION TO DISMISS                 BY     JUDGE
                                       *             STEVEN TUREAU
                                       *
 VERSUS                                *             NO REQUEST FOR ORAL ARGUMENT
                                       *
                                       *
                                       *
                                       *
 LORRAINE MCCORMICK, ET AL             *
                                       *
                                       *
                                       *
 ***************************************

MAY IT PLEASE THE COURT:

                                   LR 7-1 CERTIFICATION

       Undersigned counsel for the appearing defendant hereby certifies that she made a good

faith effort to obviate the need for this motion through discussion with Plaintiff, in compliance

with Local Rule 7-1(a). Undersigned Counsel made the following attempted contact with Plaintiff

as set forth below:

       1. On April 14, 2022, counsel emailed Plaintiff explaining her representation of Judge

           Tureau and that the claims against him are barred by the 11th Amendment and judicial

           immunity, that service upon Judge Tureau was improper, that this Court lacks personal

           jurisdiction over Judge Tureau, that injunctive relief is barred by 42 U.S.C. § 1983, and

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             that the claims are barred by Younger abstention and the domestic relations exception.

             Undersigned counsel asked Plaintiff if she opposed the proposed filing and requested

             that she to contact undersigned to confer. Plaintiff responded the same date, stating

             that she did not believe that undersigned counsel has the right to appear on behalf of

             Judge Tureau and that she will object to and oppose “all other nonsense” that is filed.

                                              MOTION

          Defendant, Judge Steven Tureau (“Judge Tureau”) respectfully submits that the claims by

Plaintiff, Lydia McCoy, should be dismissed. As discussed below, service attempted upon Judge

Tureau was improper. Furthermore, this Court lacks personal jurisdiction over Judge Tureau.

Plaintiff’s claims are also barred by absolute judicial immunity. Additionally, this Court should

abstain from hearing Plaintiff’s claims pursuant to the Younger abstention doctrine. Finally, to the

extent that Plaintiff seeks injunctive relief against Judge Tureau, such relief is barred by 42 U.S.C.

§ 1983.

                                 MEMORANDUM IN SUPPORT

I.     PERTINENT FACTUAL BACKGROUND

       On January 28, 2022, Plaintiff filed a Complaint for Declaratory Relief and for Damages

against eight defendants, including Judge Tureau, all of whom are sued in their individual

capacities. Rec. Doc. 1, par. 7. The basis for the complaint arises out of an underlying divorce

proceeding between Plaintiff and defendant, Joseph McCoy, pending in the 23rd Judicial District

Court in Gonzales, Louisiana. Id., pars. 8-9.

       With respect to Judge Tureau, Plaintiff claims that he took over the divorce proceedings,

and in conspiracy with co-defendants and clerks of the court, he “maliciously denied [sic] to

complete the record on appeal and denied Plaintiff’s request to have the trial on the merits.” Id,


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par. 30. Plaintiff contends that Judge Tureau and co-defendants agreed to deprive Plaintiff her

access to the courts and ran a racketeering scheme to defraud her out of her money. Id, par. 33.

The scheme appears to be the request by the clerk that Plaintiff pay court costs associated with

preparing and lodging the trial court record for appellate purposes. Plaintiff also alleges that Judge

Tureau “has been directly involved” in manufacturing allegedly false records. Id, par. 40. In the

original complaint, Plaintiff asserted claims for violations of 42 U.S.C. §§ 1983 and 1985 and state

law intentional infliction of emotion distress. Id pars. 53-65.

         On March 19, 2022, Plaintiff filed a First Amended Complaint for Damages, Declaratory,

Injunctive, and Other Relief. Rec. Doc. 18. Plaintiff contends that Judge Tureau was unaware that

Plaintiff was proceeding in forma pauperis in the underlying divorce action. Id, par 29. She also

asserts that Judge Tureau and the clerk employees “manufactured some extraordinary ‘bill’ of

approximately $14,000.00 or more in fees” for preparation of the record. Id, par. 36. Thereafter,

Judge Tureau signed an order on a motion to deposit funds into the registry of the court, which

Plaintiff disputes. Id, par.37. Plaintiff asserts claims for violations of 18 U.S.C. §1962(b),(c), (d);

18 U.S.C. §201; 18 U.S.C. §1341; 18 U.S.C. §1343; 18 U.S.C. §1503; 42 U.S.C. §§1983, 1985;

intentional and/or negligent infliction of emotional distress; ORS 165.080; ORS 165.100; and 15

U.S.C. §1125(a)(1)(A). Id, pars. 54-102. Plaintiff prays for compensatory damages, an award of

expenses, attorney’s fees, as well as declaratory and injunctive relief. Id, Request for Relief, pgs.

30-33.

II.      LAW AND ARGUMENT

         A. SERVICE UPON JUDGE TUREAU WAS IMPROPER.

         Plaintiff attempted service upon Judge Tureau by mailing via U.S. Postal Service Certified

Mail a copy of the Amended Complaint only. See, Exhibit “A”. The attempted service is


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improper, as parties are not permitted to serve a summons and complaint under federal law. See,

Fed. R. Civ. P. Rule 4(C)(2). The same is true under Oregon state law. See, Oregon R. Civ. P 7(E)

(“A summons may be served by any competent person 18 years of age or older who is a resident

of the state where service is made or of this state and is neither a party to the action, corporate or

otherwise, nor any party's officer, director, employee, or attorney, except as provided in ORS

180.260.) (Emphasis supplied.) For this reason, the attempted service upon Judge Tureau was

improper.

       B. THIS COURT LACKS PERSONAL JURISDICTION OVER JUDGE TUREAU.
       When a defendant challenges personal jurisdiction, the plaintiff bears the burden of

showing that jurisdiction is proper. Boschetto v. Hansing, 539 F.3d 1011, 1015 (9th Cir.

2008)(citing Sher v. Johnson, 911 F.2d 1357, 1361 (9th Cir. 1990). The jurisdictional limits of

Oregon law and federal due process are identical; accordingly, “a federal court sitting in the

District of Oregon may exercise personal jurisdiction wherever it is possible to do so within the

limits of federal constitutional due process.” Moore v. Gulf Atlantic Packaging Corp., #16-cv-886,

2016 WL 8231142, *7 (D. Ore. 11/29/2016)(internal citations omitted). Two forms of personal

jurisdiction that empower a court to exercise authority over a non-resident defendant: general and

specific jurisdiction. While it is unclear whether Plaintiff is asserting general or specific

jurisdiction over Judge Tureau, this Court lacks either type of jurisdiction over him.

       1. General Jurisdiction. As the U.S. Supreme Court recently clarified in Daimler AG v.

Bauman, “only a limited set of affiliations with a forum will render a defendant amenable to all-

purpose jurisdiction.” 571 U.S. 117, 137, 134 S.Ct. 746, 760 187 L.Ed.2d 624 (2014). Stated

another way, a defendant’s affiliations with the State must be so continuous and systematic as to

render it essentially at home in the forum State.” Id. (citing Goodyear Dunlop Tires Operations,


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S.A. v. Brown, 564 U.S. 915, 919, 131 S.Ct. 2846, 180 L.Ed.2d 796 (2011)). “For an individual,

the paradigm forum for the exercise of general jurisdiction is the individual's domicile; for a

corporation, it is an equivalent place, one in which the corporation is fairly regarded as at home”

– the place of incorporation and principal place of business. Id.

       Plaintiff admits in her original and amended complaint that Judge Tureau (and all other co-

defendants) are Louisiana citizens. See, Rec. Doc. 1, par. 7; Rec. Doc. 18; par. 4. Importantly,

Plaintiff acknowledges that the divorce proceedings that form the basis of this litigation took place

in the 23rd Judicial District Court, located in Gonzales, Louisiana. Rec. Doc. 18, par. 7. There are

no allegations that Judge Tureau has any connections with Oregon, much less any that could be

considered so continuous and systematic as to render him “at home” in Oregon. Indeed, the sole

connection with Oregon is Plaintiff herself. Id, par. 3. Accordingly, this Court lacks general

jurisdiction over Plaintiff’s claims against Judge Tureau.

       2. Specific Jurisdiction. In order for a court to exercise specific jurisdiction, a lawsuit

must “aris[e] out of or relat[e] to the defendant’s contacts with the forum.” Bristol-Myers Squibb

Vo. v. Superior Court of California, San Francisco County, 137 S.Ct. 1773, 1780 (2017)(internal

citations omitted). The Ninth Circuit sets forth a three-prong test for determining specific

jurisdiction in the forum state:

       (1) The non-resident defendant must purposefully direct his activities or
       consummate some transaction with the forum ...; or perform some act by which he
       purposefully avails himself of the privilege of conducting activities in the forum,
       thereby invoking the benefits and protections of its laws;
       (2) The claim must be one which arises out of or relates to the defendant's forum-
       related activities; and
       (3) The exercise of jurisdiction must comport with fair play and substantial
       justice, i.e. it must be reasonable.




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Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 801 (9th Cir. 2004)(quoting Lake v.

Lake, 817 F.2d 1416, 1421 (9th Cir. 1987)). “The plaintiff bears the burden of satisfying the first

two prongs of the test, whereupon the burden shifts to the defendant to ‘present a compelling case’

that the exercise of jurisdiction would not be reasonable.” Id. (quoting Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 476-78 (1985)). Here, Plaintiff fails to satisfy the first two prongs of the

specific jurisdiction analysis.

        First, there are no facts that Judge Tureau directed any activities to Oregon or conducted

any transactions in Oregon. The allegations in Plaintiff’s complaint reveal that Judge Tureau is a

Louisiana resident who presided over a Louisiana divorce proceeding in Louisiana state court.

Unhappy with rulings by Judge Tureau, Plaintiff attempted an appeal and is complaining now of

the fees that she was told that she would have to pay and asserts that the suit record is incomplete

and/or inaccurate. Nothing in these allegations would support a finding that Judge Tureau directed

any action to Oregon or otherwise conducted any transactions in Oregon.1

        Second, all actions described by Plaintiff occurred within Louisiana. As to Judge Tureau,

Plaintiff plainly describes various actions taken by Judge Tureau as a presiding judge. Plaintiff

complains that he was allegedly not aware that Plaintiff was granted in forma pauperis status, Rec.

Doc. 18, par. 29, that he denied her the complete record on appeal, Id, par 35, denied her request

for a trial on the merits, Id, created a $14,000.00 bill for the record of appeal, Id, par 36, and

granted an order to deposit funds in the registry of the court, Id, par. 37. Thus, Plaintiff’s claims

do no arise out of any activities by Judge Tureau directed to Oregon.




1
 While Plaintiff alleges that letters were sent to her in Oregon demanding the payment of the fees due for
her appeal, such actions were not allegedly taken by Judge Tureau, but by the Clerk of Court and
employees thereof.

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        Because Plaintiff cannot satisfy either prong, this Court does not have personal jurisdiction

over Judge Tureau, and Plaintiff’s claims against him should therefore be dismissed.

        C. PLAINTIFF’S CLAIMS AGAINST JUDGE TUREAU ARE BARRED BY
           JUDICIAL IMMUNITY.

        Judges have absolute judicial immunity for judicial acts performed within their jurisdiction.

Such immunity is from suit, not just the ultimate assessment of damages. Mireles v. Waco, 502

U.S. 9, 9-10 (1991). It extends to all judicial acts which are not performed in the absence of all

jurisdiction. Stump v. Sparkman, 435 U.S. 349 (1978). As the United States Supreme Court

explained in Forrester v. White:

        [T]he nature of the adjudicative function requires a judge frequently to disappoint
        some of the most intense and ungovernable desires that people can have .... If judges
        were personally liable for erroneous decisions, the resulting avalanche of suits,
        most of them frivolous but vexatious, would provide powerful incentives for judges
        to avoid rendering decisions likely to provoke such suits. The resulting timidity
        would be hard to detect or control, and it would manifestly detract from
        independent and impartial adjudication.

484 U.S. 219, 226-27 (1988). Judicial immunity may be overcome only in limited circumstances.

Under the test set forth in Mireles v. Waco, the Court looks first at whether the act complained of

is nonjudicial actions. In doing so, the court analyze the “nature and function” of the judge’s act,

not the act itself. Mireles, 502 U.S. at 12. Second, the Court must determine whether the juridical

act occurred in “the complete absence of all jurisdiction”. Id. In other words, determining whether

the judge had some subject-matter jurisdiction to perform the act in question. If a plaintiff fails to

demonstrate either of these scenarios, then judicial immunity applies and bars the complaint.

        Applying the judicial immunity analysis, it is clear that Plaintiff’s claims against Judge

Tureau arise out of the exercise of his judicial functions. First, Plaintiff specifically identifies Judge

Tureau. Rec. Doc. 18, par. 35 (“Another cartoonishly corrupt judge, Tureau, …”). Secondly, aside


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from broad and conclusory allegations of conspiracy, all of the actions of which Plaintiff complains

involve judicial acts taken by Judge Tureau in connection with underlying the Louisiana state court

proceeding. Plaintiff complains that Judge Tureau denied her the complete record on appeal,

denied her request to have a trial on the merits, and improperly granted a motion to deposit funds

into the registry of the court. These factual allegations plainly show the performance of judicial

functions. This remains true despite Plaintiff’s disagreement with those actions. Moreover, even

assuming that Plaintiff is alleging the existence of tortious actions during the performance of

judicial functions (which is denied), Judge Tureau remains entitled to judicial immunity.

Accordingly, Plaintiff’s claims against him should be dismissed.

        D. PLAINTIFFS’ CLAIMS ARE BARRED BY YOUNGER ABSTENTION
           DOCTRINE.

        It is well-settled that federal courts generally must abstain from interfering with ongoing

state proceedings. The Younger abstention doctrine is based upon “a strong federal policy against

federal-court interference with pending state judicial proceedings absent extraordinary

circumstances.” Middlesex County Ethics Committee v. Garden State Bar Association, 457 U.S.

423, 431, 102 S.Ct. 2515, 73 L.Ed.2d 116 (1982). The policies underlying Younger abstention

includes comity, which has been articulated by the Supreme Court as a “a proper respect for state

functions, a recognition of the fact that the entire country is made up of a Union of separate state

governments, and a continuance of the belief that the National Government will fare best if the

States and their institutions are left free to perform their separate functions in their separate ways.”

Id. (citing Younger v. Harris, 401 U.S. 37, 44, 91 S.Ct. 746, 27 L.Ed.2d 669 (1971)).

        Generally, the Younger abstention doctrine requires that federal courts decline to exercise

jurisdiction over lawsuits when three conditions are met:



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      1) there are ongoing state judicial proceedings;
      2) the proceedings implicate important state interests; and
      3) the state proceedings provide the plaintiff with an adequate opportunity to raise
         federal claims.

Meredith v. Oregon, 321 F.3d 807, 826, (9th Cir. 2003) amended sub nom, Meredith v. State of

Oregon, 326 F.3d 1030 (9th Cir. 2003). A request for declaratory relief that would interfere with

state proceedings is likewise subject to Younger abstention, as “ordinarily a declaratory judgment

will result in precisely the same interference with and disruption of state proceedings” as

injunctions. Samuels v. Mackell, 401 U.S. 66, 72, 91 S.Ct. 764, 27 L. Ed. 2d 688 (1971). “Where

an injunction would be impermissible under these principles, declaratory relief should ordinarily

be denied as well.” Id, 401 U.S. at 73. As set forth below, the three Younger considerations are

easily met, and this Court should abstain from hearing Plaintiffs’ claims against Judge Tureau.

       First, Plaintiff plainly invites this Court to interfere with an ongoing state court proceeding.

Plaintiff asks this Court to enter a judgment declaring that all defendants, including Judge Tureau,

have engaged in simulated proceedings, entered “perverted ‘rulings;”, deprived her of her lawful

portion of community property and claims for reimbursement” of at least $120,000,

excluding/altering documents from the record on appeal, refusing to file Plaintiff’s documents,

and taking over $10,000 for filing fees. Rec. Doc. 18, pg. 30-31, par 2. Plaintiff also asks this

Court to declare that the rules, policies or “charging schemes” for filing fees are unconstitutional

and violate her right to access the courts. Id, pg. 31, par. 3. She also expressly requests that this

Court declare any state law that purports to authorize such funds as unconstitutional. Id.




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        Insofar as Plaintiff seeks a judgment based on Judge Tureau’s actions while presiding over

the divorce proceeding, such relief would inherently interfere with the pending2 litigation. Such

relief would likewise hinder the ability of Judge Tureau (or the Louisiana appellate court) to

preside over the divorce actions and threaten the integrity of the ongoing litigation. Thus, the first

prong of the Younger test is satisfied.

        Second, it is unquestionable that the State of Louisiana has a significant interest in the

enforcement of its own laws and the operation of its state court judicial system. In fact, the U.S.

Supreme Court has acknowledged that “States have important interests in administering certain

aspects of their judicial systems”, including enforcement of judgments. Pennzoil Co. v. Texaco,

Inc., 481 U.S. 1, 12-13, 107 S.Ct. 1519, 95 L.Ed.2d 1 (1987). Plaintiff’s complaint takes issue

with how her lawsuit in Louisiana state court was handled, as well as how court officials and

employees enforced and implemented state laws. Therefore, the second factor of the Younger

analysis is satisfied.

        Third, Louisiana law provides defendants with the opportunity to challenge the

constitutionality of Louisiana laws or any actions of the judges. Moreover, Judge Tureau (as a

district judge in the 23rd Judicial District Court) is authorized to adjudicate claims of constitutional

dimension. Additionally, “[m]inimal respect for the state processes, of course, precludes any

presumption that the state courts will not safeguard federal constitutional rights.” Middlesex

County Ethics, 457 U.S. at 431(emphasis original). Plaintiff has failed to identify how she has




2
 Plaintiff admits that as recently as February 2022, Judge Tureau signed an order permitting the
deposit of funds into the registry of the court. Rec. Doc. 18, par. 37. Plaintiff likewise states that
the state appellate court granted her until March 3, 2022 to file her appellant brief. Id, par. 49.

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been denied the opportunity to raise such challenges in state court. Accordingly, the third Younger

element is satisfied.

          For this reason, Younger abstention should apply in this instance, and the claims against

Judge Tureau should be dismissed.

          E. PLAINTIFF IS NOT ENTITLED TO INJUNCTIVE RELIEF AGAINST
             JUDGE TUREAU.

          Plaintiff plainly requests injunctive relief against Judge Tureau. See, Rec. Doc. 18 p. 30,

par. 5:

          “issue an appropriate injunction or other such order, prohibiting defendants from engaging
          in racketeering activity, defrauding Plaintiff, stealing from Plaintiff, advancing fraudulent
          schemes, policies and rules that purport to authorize stealing from Plaintiff and ‘charging’
          thousands of dollars for filing fees for their shameful simulation of the court proceedings
          and preparation of falsified records. Further prohibiting defendants from tampering with
          public records, altering and concealing public records relevant to any event, described in
          this complaint. Further prohibiting defendants from advancing simulation of the court
          proceedings, preventing the facts, perverting and misapplying the law, manufacturing
          fraudulent legal documents, orders, and entries that violate the law. Further prohibiting
          defendants from violating Plaintiff’s constitutional rights under the guise of ‘authority of
          the law,’ fueled by their hatred toward Plaintiff, her national origin, linguistic
          characteristics, accent, gender, ancestry, and ethnic descent.”

However, such relief is not available in this action. 42 U.S.C. §1983 specifically provides that “in

any action brought against a judicial officer for an act or omission taken in such officer’s official

capacity, injunctive relief shall not be granted unless a declaratory decree was violated or

declaratory relief is unavailable.” Plaintiff makes no allegations that Judge Tureau violated a

declaratory decree, nor that declaratory relief is otherwise unavailable in this action. For this

reason, Plaintiff’s claims for injunctive relief fail as a matter of law.

III. CONCLUSION

          Defendant, Judge Steven Tureau, respectfully submits that Plaintiff’s claims against him

should be dismissed. Defendant has not been properly served, and this Court lacks personal


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jurisdiction over him. Further, the claims against Judge Tureau are barred by absolute judicial

immunity. This Court should also abstain from hearing Plaintiff’s claims pursuant to the Younger

abstention doctrine. Finally, Section 1983 prohibits the granting of injunctive relief against Judge

Tureau. Accordingly, Plaintiff’s claims should be dismissed.

                                              Respectfully submitted,

                                              JEFF LANDRY
                                              ATTORNEY GENERAL

                                      BY:     s/ Jacqueline B. Wilson
                                              Jacqueline B. Wilson, La. Bar Roll No. 31055
                                              Assistant Attorney General
                                              Louisiana Department of Justice
                                              Litigation Division
                                              1885 North Third Street, 3rd Floor
                                              Post Office Box 94005 (70804-9005)
                                              Baton Rouge, Louisiana 70802
                                              Telephone: 225-326-6300
                                              Facsimile:     225-326-6495
                                              E-mail:        wilsonj@ag.louisiana.gov


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY the foregoing was filed electronically with the Clerk of Court by

using the CM/ECF system and that a copy of the foregoing was served on the pro se plaintiff by

U.S. mail on the 18th day of April, 2022.

       Lydia McCoy
       3055 NQ Yeon Avenue, #6315
       Portland, OR 97210

                                      s/Jacqueline B. Wilson
                                       Jacqueline B. Wilson




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